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Case 2:15-Cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 1 of 41

Matthew Muller

Reg. No. 72875-097
U.S. Penitentiary Tucson
P.O. Box 24550

Tucson, AZ 85734

Pro Se

 

DEPUTY CLERK

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

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UNITED STATES OF AMERICA, No. 4:18-cv-00376-RCC-PSOT

Respondent, MOTION FOR EXTENSION OF TIME IN
WHICH TO FILE OBJECTIONS TO

v. MAGISTRATE JUDGE'S FINDINGS AND
RECOMMENDATIONS

MATTHEW MULLER,

Movant.

 

 

 

For the reasons set forth below, Movant Matthew Muller requests that the Court extend by
45 days the time in which to file objections to the Magistrate Judge’s Findings and
Recommendations (ECF No. 65). y

In a July 18, 2018, Order, the Magistrate Judge recommended dismissal of certain
claims made in Movant’s Motion to Vacate (ECF No. 61). The Order further directs Movant to
submit any objections to the recommendations within fourteen days of their service.

Movant learned of the July 18 Order on July 26 and received it from prison authorities
on July 30, 2018. See Mov.’s Decl. para. 11 (attached as Ex. A). As usually calculated for
service by mail, the deadline for objections under the terms of the Order would be August 4,
2018, extending the deadline to August 6, 2018, since the former date falls on a Saturday.
Accordingly, Movant would have only seven days from actual receipt of the recommendations in

which to respond.

Motion for Extension of Time 1 United States V. Muller

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Case 2:15-Cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 2 of 41

Within a few weeks of filing his motion under 28 U.S.C. § 2255, Mr. Muller was
falsely charged with criminal conduct by prison officials, in retaliation for pro bono legal
assistance he had been providing other inmates. See Pl.’s Verified Compl. in Muller v. United
States, No. 4:18-cv-00376-RCC-PSOT (Dist. Az., Aug. 2, 2018) (attached as Ex. B). Movant
was placed in segregated confinement and denied treatment for his psychiatric illness. Prison
officials instigated and enabled attacks by other inmates against Mr. Muller, causing him to be
raped and beaten. ld. They then refused to provide psychiatric care as Movant lapsed into severe
depression and nearly committed suicide. Id.

As a result of his wrongful detention in late April, Movant has been unable to send
further planned filings to the Court and has been denied access to his legal materials until a few
weeks ago. Id.; Mov.’s Decl. paras. 4, 9. He is also in poor mental health, and although not
completely debilitated, is impaired in his ability to promptly respond to the Magistrate Judge’s
recommendations of July 18. Mov.’s Decl. para. 6.

Accordingly, Movant respectfully requests an additional 45 days in which to respond
to the Court’s Order--to and including September 20, 2018. Such an extension is reasonable in
terms of both the typical impediments faced by imprisoned litigants and the particular
circumstances Mr. Muller has faced. See Houston v. Lack, 487 U.S. 266 (1988); Silva v. Di
Vz'ttorz'o, 658 F.3d 1090, 1 101-02 (9th Cir. 2011) (holding that prisoners have a constitutional
right of meaningful access to the courts); Kelly v. Small, 315 F.3d 1063, 1070 (9th Cir. 2002)
(finding an ”exercise of discretion to stay the federal proceedings is particularly appropriate”
where aprisoner Would be denied a reasonable opportunity to pursue his claims in the absence of
such a stay).

In the alternative and in the event the Court does not grant the requested stay, Movant
hereby objects to the Magistrate Judge’s findings to the extent they recommend dismissal of any
part of Movant’s claim. Further, Movant submits that the procedure allowed for bringing the
objections-absent the requested extension-is unreasonable and as applied to Movant violates

the due process clause of the U.S. ConStitution. See, e.g., Armstrong v. Manzo, 380 U.S. 545, 552

Motion for Extension of Time 2 United StateS V. Muller

 

 

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Case 2:15-Cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 3 of 41

(1965) diolding that a fundamental requirement of due process is the opportunity to be heard-
"an opportunity which must be granted at a meaningful time and in a meaningful manner”).

WHEREFORE, Movant submits that the motion should be granted.

Respectfully submitted this second day of August, 2018.

By: /s/Matthew Muller
Matthew Muller

Those recommendations also took much longer to reach Mr..Muller

Motion for Extension of Time 3 United States v. Muller

 

 

Case 2:15-Cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 4 of 41

CERTIFICATE OF SERVICE

I, Huei Dai, certify that the Respondent in this matter is registered with the CM/ECF system and
will automatically be served with a copy of the foregoing document when it is entered by the

Clerk. Done this second day of August, 2018.

7 /
Huei Dai

 

 

Case 2:15-Cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 5 of 41

EXHIBIT A
Declaration of Movant Matthew Muller

 

 

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Case 2:15-Cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 6 of 41

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Attorney for Matthew Muller

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ARIZONA

MATTHEW MULLER,
Plaintiff,

V.

United States' R.L. Rhodes Acting
Warden USP ucson;

Juan Baltazar, Cornplex Warden USP
Tucson;_ _

W.J Jusino, Associate Warden USP
Tucson_; _

Lori Mltchell, Legal Assistant USP
Tucson;

John Does 1-25 employees at USP
Tucson

Defendants.

 

 

No. 4:18-cV-00376-RCC-PSOT

DECLARATION OF MATTHEW MULLER IN SUPPORT OF MOTION
FOR PRELIMINARY INJUNCTION AND TEMPORARY
RESTRAINING ORDER

I, Matthew Muller, declare under penalty of perjury:

 

 

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Case 2:15-Cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 7 of 41

1. l am the plaintiff in this case. l make this declaration in support of my

motion for a preliminary injunction and temporary restraining order ("TRO").

2. l have read the averments made in the complaint and Verify under penalty
of perjury that they are true. I adopt those facts as part of this supporting

declaration.

3. As stated in the Verified Complaint, l was subjected to segregated
confinement because l was giving legal help to another inmate l believe was
wrongfully convicted. At least seven officials at U.S. Penitentiary Tucson--
ranging from correctional officers to senior prison management--have told me
explicitly that l should stop helping inmates with their legal matters. Some
officials were threatening, and some were just trying to help me avoid trouble
from other officials. But they all were clear that l would be retaliated against

if l did not stop helping inmates.

4. Based on these contacts and on my observations of what has happened to
other inmates who give legal help, there is an unwritten policy at USP
Tucson of punishing inmates who offer legal assistance to others. This
custom applies whether or not an inmate accepts money for his services (l did

not), and whether or not an inmate limits his assistance to legal matters not

 

 

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Case 2:15-cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 8 of 41

involving prison staff (I did so limit myself).

5. On about April 30, 2018, I was confronted by Lieutenant Schied in the
Special Housing Unit ("SHU") where l was detained. He told me that if I did
not like the difficult conditions in the SHU, then I should stop helping
inmates With their legal work. When I stated that I would continue to help
any inmate I believed to be innocent, Schied yelled at me, threatened me with
false disciplinary and criminal charges, and forced me into a cell with a

dangerous inmate he either knew would harm me or bribed to harm me.

6. On about May 2, 2018, I was raped by that inmate. Even after that, I still
could not get moved out of the cell--until on May 4 he assaulted me again and

l was moved.

7. I was then put into a cell with a different, almost equally volatile inmate.
He attacked me, leaving me with multiple bleeding lacerations to my face and

various contusions and swelling.

8. The physical impacts of these attacks were not pleasant. But they were
nothing compared to the mental agony I endured from the combined effect of

the attacks, the degrading conditions of confinement, and the refusal of

 

 

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Case 2:15-cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 9 of 41

proper treatment for my long-time psychiatric illness. Things got so bad that
my parents hired an attorney, Stacy Scheff, just to help me get treatment and
survive the SHU. They are both retired public school teachers Who have two
other adult children unable to Work because of psychiatric illness. So, it is a

big expense for my family.

9. Even With an attorney, I could not get the help I needed. At first, prison
officials blocked me from even seeing Stacy. Then they kept me from calling
her. One of the three letters I sent to her via confidential legal mail--the
most important letter--never arrived. It was hard for me to do much of
anything While I was that depressed, so the different obstacles the prison

threw up were successful in keeping her from helping me much.

10. After begging for psychiatric treatment again and again, I finally gave up
and could no longer endure the mental suffering. I made plans to kill myself.
And I am quite sure I would have, if my cellmate Cody Jackson had not
become suspicious He opened up some sealed envelopes while I was away
from the cell, read suicide notes I had written and figured out my plans to kill
myself. Cody contacted my lawyer Stacy, and together With her and some
other inmates managed to get another Bureau psychologist to have me

released from the SHU so that I could begin to recover.

 

 

 

 

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Case 2:15-cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 10 of 41

11. In part because of my detention in the SHU, I am currently dealing With
an extradition request from Solano County, California. I had been in the
middle of negotiating a resolution to those charges When I Was sent to the
SHU in April. I asked SHU officials again and again to allow me to contact
my attorney for that process, but it Was Weeks before that Was allowed. As a
result, negotiations broke down and Solano County continued With their

extradition request.

12. Right noW, as a result of everything that happened in the SHU, I am in
poor mental health, I have recovered a good bit in the month since my
release. But I am far from being ready to deal With the stress of transferring

to a new institution and facing a new case.

13. Based on my health history, I think there is a high likelihood that the
stress of that process Would cause me to relapse into a serious depressive
episode With high Suicidality. The transfer Will never be easy. But a few
more months to recover could Well be the difference between a difficult

process and a lethal one.

14. I have tried requesting a delay in my extradition for mental health

 

 

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Case 2:15-cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 11 of 41

reasons But I need to prove that it is really needed. So Stacy arranged for a
psychological examination that would help me prove the need and also serve

at least two other purposes

15. First, I had a pending § 2255 motion that I wanted to support with a
mental health examination. l was in solitary confinement for nearly two
years during my federal criminal proceedings Much like what happened in
the SHU here, I became severely depressed, I pleaded guilty not because l
was guilty, but because l did not care what happened to me. l did not contest
any of the untrue things people were saying about me. My depression made
me think I was worthless and so deserved to have bad things happen to me
and said about me, l was planning to commit suicide anyhow, so it didn't
matter to me whether l was free or imprisoned for life. lt seemed easiest and

cheapest for my family for me to just plead guilty. So that is What I did.

16. The one silver lining about how bad my depression got in the SHU Was
that it was very similar to the Way things happened in jail during my trial.
So I Wanted an expert to examine me while I was in that state of depression,
and then testify and report on whether he thought l would be competent to
plead guilty under those circumstances The expert could use tests and

analyses to prove how depressed l Was. From what l understand, there are

 

 

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Case 2:15-cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 12 of 41

certain cognitive impairments consistent with depression that could be

measured. But only if the expert assessed me while l was depressed.

17. If the prison had not blocked my legal visit like they did, l would have
had a chance to have my mental health and cognition assessed under
circumstances very relevant to my § 2255 claims l am still suffering from
depression now, l believe, even if it is not as bad as a month ago. lt is
horrible being depressed, so l am doing everything l can to recover. At the
same time, I Still Want to be assessed while l am measurably depressed, So I
need a psychological examination as soon as possible.

18, Even more important than my own case, l hope to prove how restrictive
confinement often causes depression or makes it much worse. And how
severe depression, in turn, causes people to plead guilty when they are not. l
thought that what happened in my case was Very rare. But l have already
interviewed two inmates at USP Tucson who experienced the same. They
both committed a lesser offense they Were accused of--one very minor--but
ended up pleading guilty to major crimes because depression left them

without the will to fight or to care what happened to them.

19. Since l have such a well-documented history of suicidal depression, and

because l was in very poor mental health following confinement in the SHU, I

 

 

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Case 2:15-cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 13 of 41

figured I could make the best of a bad situation. I Wanted to get an
assessment right away to show how someone in my condition has no business

making decisions that affect their lives and the lives of` their families

20, Of course, a mental health examination Would also prove how much l
suffered as a result of` things that happened in the SHU. That is not why l
wanted the exam, but it is probably a reason why prison officials are trying to
block it. But suing the Bureau of` Prisons for damages is one of` the last
things on my mind right now. I am just trying to get healthy and survive the

next few months I only want to be left alone for a while, so I can get better.

21. Once that happens, l do plan to continue helping inmates With their
cases--especially their § 2255 motions l think any jurist Would be as shocked
as l was to learn how many cases there are of probable innocence among
inmates here. Just one such case in the entire prison would be too many.
But there are certainly more. l taught classes at Harvard on credibility
assessment and screened hundreds of` prospective clients in a fairly high-
fraud area of law (asylum claims). I am not naive about people making up
stories to get What they Want. These are real cases of innocent people with

long prison sentences

 

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Case 2:15-cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 14 of 41

22. What I have been naive about is trusting to good faith and the integrity of
prison officials I thought that if l was respectful and judicious about who I
helped and how, I would be left alone to do my Work. Who could take issue

with helping the innocent go free? Apparently, it is not that simple.

23. Most Bureau employees do their jobs and try to be fair with inmates
But some officials are not so benign. They think inmates deserve whatever
sort of treatment they see fit to mete out. These officials are seldom held to
account when that treatment amounts to abuse. Fellow officers are reluctant
to break the code of silence, so they stand aside. And courts are perennially
skeptical of prisoners' inexpert claims Many judges are quick to credit
officious explanations of how harsh measures are necessary, or how convicts
always lie and manipulate. So abuse-prone employees_many of Whom would
serve well in a culture of accountability-are allowed to run a mock and

corrode prison life for inmates and officers alike.

24. I do not have the answer to these problems But l at least know it is
critical that prison officials be restrained from blocking the courthouse doors,
or from barring the prison doors against attorneys seeking to access their
clients That is exactly what the Defendants are doing to me. l at least am

lucky enough to have a Wife and family Who can help me overcome the

 

 

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Case 2:15-cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 15 of 41

barriers and legal skills when I am well enough to use them. Most inmates

are not so lucky.

25. I respectfully ask that the Court hold the Defendants accountable for

intentionally obstructing inmates’ access to justice under false pretenses of

maintaining security and order.

I, Matthew Muller, declare under penalty of perjury that the foregoing is true

and correct. Done this thirtieth day of July, 2018, in Tucson, Arizona.

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Signed: /s/ Matthew Muller
Matthew Muller

 

 

 

Case 2:15-cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 16 of 41

EXHIBIT B
Verified Complaint in Muller v. United States

 

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Case 2:15-cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 17 of 41

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Attorney for Matthew Muller

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

Matthew Muller,

Plaintlff, No. 4:18-cv-00376-RCC-PSOT

V.

United StateS; R.L. RhOdeS Acting Waran USP VERIFIED COMPLAINT FOR
Tucson;
Juan Baltazar Com lex Warden USP Tucson;

W.J. Jusino, Associ)ate Warden USP Tucson; INJUNCTIVE AND DECLARATORY
Lori Mitchell, Legal Assistant USP Tucson; _
John DOES 1-25 employees at USP Tucson, RELIEF Heal`mg requested

Defendants

 

 

INTRODUCTION

1. This is an action for narrow injunctive and declaratory relief under the Court's federal
question jurisdiction. Plaintiff Matthew Muller, a federal inmate, alleges that Defendants violated
the Constitution and agency regulations by refusing to allow an examination by forensic

psychologist George Goldman and legal visits by the undersigned's paralegal William Fuller.

2. Dr. Goldman was employed by Mr. Muller's attorneys to meet with the Plaintiff at U.S.

Penitentiary Tucson, He will assess Plaintiff‘s mental health and produce an expert report for use

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Case 2:15-cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 18 of 41

in time-sensitive criminal and civil court filings Plaintiff seeks an order allowing this routine
legal interview to proceed over Defendants' unexplained objections He also seeks an order

allowing legal visits by Mr. Fuller for case-related purposes

3. Defendants' refusal to allow Dr. Goldman and Mr. Fuller access to Plaintiff are the only
actions from which Plaintiff seeks relief. However, to provide context, Plaintiff will describe
how the Defendants' obstructionism is part of an ongoing pattern of retaliation against Mr.
Muller for the pro bono legal help he offers other inmates As a result of this retaliation, Mr.
Muller has been subjected to false disciplinary charges; has been assaulted and raped at the
instigation of prison officials; has suffered months of segregated confinement in degrading
conditions; and very nearly committed suicide as a result of the severe psychological harm

Defendants inflicted upon him.

4. Plaintiff has sought for nearly a month to reach an informal resolution with Defendants
Prison officials have offered no justification for denying an examination by Dr. Goldman and
have offered only pretextual reasons for barring Mr. Fuller. Following six letters, administrative
remedy requests and multiple conferences Defendants will not allow the visits or elaborate on
their reasons for refusal. Given pressing deadlines in the legal matters for which the expert

report is needed, Plaintiff had no reasonable alternative but to file this action.
JURISDICTION

5. The Court has jurisdiction to hear this matter and provide the requested relief pursuant to

its general federal question jurisdiction under 28 U.S.C. §1331.

6. This Court may also grant relief under the Administrative Procedures Act, 5 U.S.C. § 701

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Case 2:15-cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 19 of 41

et seq., in conjunction with 28 U.S.C. § 1331.

7. This Court has jurisdiction to provide mandamus relief pursuant to 28 U.S.C. § 1361.

PARTIES

8. The Plaintiff Matthew Muller is, and was at all times during the allegations presented
herein, a federal inmate at the U.S. Penitentiary Tucson ("USP Tucson") in the District of

Arizona.

9. The Defendant United States is the sovereign entity having control over the Federal
Bureau of Prisons ("BOP") and its parent agency the U.S. Department of Justice ("DOJ"). The

United States has waived sovereign immunity in this matter pursuant to 5 U.S.C. § 702.

10. The Defendant Robbie Rhodes resided at all relevant times in Pima County, Arizona, in
the District of Arizona. He was employed by the BOP as Acting Warden of USP Tucson from at
least April 1, 2018, through June 27, 2018. He and his successors are sued in their official

capacities

11. The Defendant Warden Balthazar currently resides in Pima County, Arizona, in the
District of Arizona. He is employed by the BOP as Warden of USP Tucson and assumed this

position on June 27, 2018. He and his successors are sued in their official capacities '

12. The Defendant Assistant warden Jusino resided at all relevant times in Pima County, Arizona,
in the District of Arizona. She is employed by the BOP as an Associate Warden of USP

Tucson. She and her successors are sued in their official capacities

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Case 2:15-cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 20 of 41

13. The Defendant Lorri Mitchell resided at all relevant times in Pima County, Arizona, in
the District of Arizona. She is employed by the BOP as a Legal Assistant at USP Tucson. She

and her successors are sued in their official capacities

14. Defendants DOES 1-25 resided at all relevant times in Pima County, Arizona, in the
District of Arizona. They are employees and contractors of the BOP at USP Tucson, Federal

Correctional Complex Tucson and elsewhere.

FACTS

15. Matthew Muller is a former attorney who arrived at USP Tucson hoping to use his legal
skills to help wrongly convicted prisoners Following two years of detention at various facilities,
he had a perfect record of institutional conduct. He had filed no lawsuits or complaints against

any jail or prison official until the events of the last several months at USP Tucson,

Bop officials Intimidate Mr. Muller to Prevent Him from Helping Fellow Inmates

16. Within an hour of Plaintiff’s arrival at USP Tucson on June 29, 2017, BOP Special
Investigative Supervisor ("SIS") Gallion and, on information and belief, SIS Madrid pulled Mr.
Muller into a back room of the receiving area. The officers stated that they knew he had been an
attorney. They threatened that if he gave legal help to other inmates, he would be subjected to

»» mw »»A,

"diesel therapy"ff ssa brutal regimen of bussing from prison to prison with long stretches of

 

segregated confinement in between.

17. Consequently, Mr. Muller concealed his legal experience from other inmates at first, He
eventually met an inmate he was convinced was innocent. Mr. Muller felt a moral and religious

responsibility to help that inmate, a former police officer named Christopher Eads with a wife

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Case 2:15-cr-00205-TLN-EFB Document 66 Filed 08/03/18 Page 21 of 41

and three children. So he offered to review the case to see how Mr. Eads might be exonerated

18. Both during his professional life and in prison, Mr. Muller's legal work has been a
manifestation of his political and religious beliefs in equal justice. Before his career was cut
short by psychiatric illness, Mr. Muller worked or intemed at eight nonprofit law firms in four
metropolitan areas As a faculty member at Harvard Law School, he taught human rights law
and was associate director of a clinical program providing free legal services Mr. Muller has

never charged any inmate for his work on their case.

19. Mr. Muller was soon helping many different inmates He aided with everything from
postconviction relief to veterans' issues to routine legal services such as drafting powers of
attomey. He filed multiple successful appellate briefs, helped three inmates obtain appointed or
pro bono counsel in their habeas corpus cases, won disability benefits for two severely ill
inmates who were leaving prison and assisted many inmates whose matters are still pending
before the courts Mr. Muller also taught introductory law classes and helped add resources to

the prison's law library.

20, Mr. Muller was assisted by his vvife, Huei Dai, who obtained information and documents
not available through the prison library or research system. Together and in less than a year, they
donated over 2,000 hours of their time and at least $1,200 in expenses towards inmates' legal

mattCI`S.

21. Mr. Muller declined to handle certain types of legal matters Fearing reprisal, he avoided
cases relating to prison conditions or staff members Although approached by many inmates

seeking advice on civil rights matters or denial of medical care, Mr. Muller told them he could

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 22 of 41

not help due to the likelihood of retaliation,

22. Plaintiff is aware of many instances of prison staff retaliation, both against complaining

inmates in general and against "jailhouse lawyers" in particular.

23. In October of 2017, Plaintiff‘s neighbor Mr. Strauss helped a fellow inmate successfully
sue the prison to obtain vital medical care. Staff retaliated by "shaking down" the entire unit
(conducting an invasive search and confiscating minor contraband that is usually tolerated, such
as extra food and blankets). Afterwards, they told inmates "you can thank Strauss for this." Staff
then reported that inmates were threatening Mr. Strauss, and that for his protection he had to
placed be in administrative segregation ("the hole"). He was then transferred involuntarily to

another prison.

24. Other retaliation schemes Mr. Muller has witnessed or heard of include: staff planting
contraband in a targeted inmate's property or bribing another inmate to do so; bribing an inmate
to falsely report some other misconduct by the targeted inmate; falsely stating an inmate
threatened or harassed an officer_especially a female officer; bribing an inmate to attack a
targeted inmate and then segregating and/or transferring the target "for his protection"; claiming
that an inmate is becoming "too influential" or "too famous" and must be transferred for security
reasons; placing a targeted inmate in segregation for investigation of unspecified misconduct or
threats; alleging suspicious communications with relatives or the public and restricting the

targeted inmate's correspondence and visiting privileges

25. To avoid becoming a target of any such scheme, Mr. Muller tried to be as judicious as

possible about cases he handled. Mr. Muller also refrained from filing complaints about staff

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 23 of 41

misconduct against him. This misconduct included officers tampering with his privileged legal
mail, failing to deliver law-related books he ordered, and an incident in which officers knowingly
restrained him from restroom facilities and Plaintiff was forced to defecate on himself in front of
others The last incident was in retaliation for Mr. Muller confronting an idle officer about
refusing to get up and open a door for so long that an elderly inmate with advanced prostate

cancer urinated on himself.

26. Plaintif`fs hope was that if he tolerated such misconduct and worked only on matters that

did not directly involve the prison, he would be left alone by staff`. This was not to be the case.

Bop Ojicials Retaliate Against Mr. Muller for His Pro Bono LegalActivities
27. On April 25, 2018, Mr. Muller was called to the lieutenant's office. There, he was
detained for giving Christopher Eads information about how his farnin could mount an

innocence campaign using social media.

28. SIS Madrid claimed it was a criminal act for Mr. Muller to provide such
information She charged him under the BOP's highest offense category, used for such acts as
murder and rioting. Significantly, the high-level charges required automatic segregation of Mr.
Muller in the Special Housing Unit ("SHU"). Mr. Muller was thereby prevented from continuing
his pro bono legal activities, from completing work on several cases with critical deadlines and

from teaching law classes

29, Mr. Muller's personal effects were seized and he was searched, handcuffed and brought
before a lieutenant for reading of the charges He was then escorted to a restricted wing of the

prison containing the SHU, where he was strip-searched twice and required to surrender his

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 24 of 41

standard prison uniform and put on an orange tee-shirt, shorts and foam shoes

30. ln the SHU, Mr. Muller was denied his prescribed psychiatric medication as well as an
antipsychotic he requires at times of high stress He sent several requests for help to the SHU

psychologist, Ms. Johnson.

31. Mr. Muller has had a long and well-documented struggle with severe bipolar illness He
is designated by the BOP as a "Care Level 2-MH" inmate requiring an elevated degree of
psychiatric care, Nonetheless, Johnson told him that he was perfectly healthy aside from a
vitamin D deficiency. She refused to provide any care or accommodations for Mr. Muller's

psychiatric illness

32. When Mr. Muller continued to request help from Ms. Johnson, she had him escorted from
his cell to the SHU lieutenant's office. There, Johnson and several officers surrounded Mr.
Muller while Lieutenant Schied commanded him to "shut up and get with the program." Schied

stated that "if you don't like the SHU, then you should stop doing inmates' [legal] paperwork."

33. Mr. Muller replied that he was helping inmates he believed were innocent and would
continue doing so. Schied stated "There are no innocent inmates here. They're all
guilty." Plaintiff responded colloquially "I'll bet you a million dollars there are innocent inmates
here." Schied then said "Did you hear that? He just tried to bribe me, That's another shot
[disciplinary charge] for attempting to bribe an officer. In fact, l’m going to call SIS right now

and have you charged."

34. Mr. Schied then placed a phone call and began discussing what the most serious offense

was that he could level at Mr. Muller. Schied stated that he wanted the FBI liaison contacted to

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 25 of 41

pursue criminal bribery charges (An FBI investigator did come to the prison and interview
Plaintiff`. The investigator was professional. But the questions he asked suggested that USP
Tucson staff may have attempted to falsely implicate Mr. Muller in an attack against an officer

committed months earlier by Mr. Muller's former cellmate.)

35. Schied completed his call, turned to Plaintiff and stated "I think you need a new cell

mate. How about Gaines?" Several officers surrounding Plaintiff chuckled at this suggestion

Prison officers instigate sexual and physical assaults against Mr. Muller
36. Plaintiff was then taken from Schied's office back to his cell. Officers collected some of
Mr. Muller's belongings and threw away others Plaintiff was escorted to a new cell, and saw on

the door a large sign with the letters "H.R.A."

37. Plaintiff later learned that H.R.A. is an acronym for "House and Recreation Alone." This
designation is reserved for particularly violent inmates with a history of assaultive conduct
towards other inmates and staff`. The "H.R.A." sign on a cell door warns officers on duty that
they are dealing with a high-risk inmate and that that individual is not to be mixed with any other

prisoner.

38. The H.R.A. inmate was removed from the cell and escorted to the lieutenant's office
while Plaintiff was placed in the cell. After a short time, the inmate, Sam Gaines, returned and

was put in the cell with Mr. Muller,

39. Mr. Gaines was not initially hostile toward Plaintiff. However, it quickly became clear
that Gaines was profoundly mentally ill. Mr. Gaines later disclosed that he suffered from

paranoid schizophrenia and that the BOP was not giving him all of the medications he needed to

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 26 of 41

control his condition.

40. Mr. Muller also learned that Mr. Gaines was sexually interested in male and transgender
inmates Mr. Gaines made several comments about Plaintiffs body and asked various questions
of a sexual nature. Mr. Muller stated that he was accepting of all sexual orientations but was

heterosexual and that in any event he was happily married and sexually exclusive with his wife.

41. Over the next few days, Mr. Gaines's behavior became more bizarre, including both
threats and sexual comments He slept very little or not at all. He seemed lucid for much of the
day but spoke almost constantly-sometimes to himself and in apparent response to a running
dialog in his head. Mr. Gaines acknowledged that he "heard voices." When asked during one of
his lucid periods, he stated that at times the voices were telling him to kill Mr. Muller before Mr.
Muller killed him. He became increasingly suspicious of Mr. Muller and frequently commented

that he knew Plaintiff and Lieutenant Schied were trying to "set him up" somehow.

42. Between May l and May 4, Mr. Muller made numerous verbal requests and submitted at
least six written requests to be moved, stating that he was in imminent danger from
Gaines These included two written requests that he handed directly to Associate Warden Jusino

and another associate warden on May 2.

43. On the night of May 2, Plaintiff went to sleep wearing only boxers due to warm
temperatures in the SHU, He awoke from a deep sleep to find that his boxers had been pulled

down, and that Mr. Gaines was behind him and penetrating him with his penis.

44. Plaintiff pushed Gaines, jumped off the bed and began shouting. Gaines said words to

the effect of "What, you don't like African American men?" Plaintiff replied that he was not

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 27 of 41

sexually interested in any men. Gaines stated, "Sure you are, you're just shy." Gaines then stated

"Schied won't never put nobody in this cell if they ain't gonna fuck."

45. Plaintiff later learned from other inmates that any time Gaines did have a cellmate in the
SHU, it was a gay or transgender inmate because he would not accept any other. Inmates in
surrounding cells, such as Michael Hanson, stated that they had assumed Plaintiff must be gay
because he had been put in a cell with Gaines They advised that SHU staff was aware that

Gaines would only accept cellmates he could have sex with.

46. Mr. Muller did not report the rape at that time_both because he realized that Lieutenant
Schied had arranged the situation and was unlikely to help him, and because it is dangerous to be
labeled a "snitch" in prison Contrary to Prison Rape Elimination Act (PREA) implementing
regulations, there was no available confidential method of reporting a rape in the SHU, The only
avenue for such reporting was the SHU law library computer, which Plaintiff requested to use

almost daily but was not allowed to access a single time in 64 days

47. Plaintiff told his family about the attack so that they could look up information about
HIV/AIDS transmission for him. He instructed them not to report the rape. However, they
contacted the warden and told him that SHU staff had caused Plaintiff to be raped. The warden
assigned investigation of the matter to Lieutenant Schied and other staff members who had
caused or been complicit in the rape. Therefore, Plaintiff declined to cooperate with the

investigation

48. Gaines's attitude towards Mr. Muller became very hostile after he realized Plaintiff would

not have sex with him. He told Mr. Muller he was either going to leave the cell in handcuffs or

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 28 of 41

in a body bag, that it made no difference to Gaines and that Mr. Muller had better get staff to
move him if he wanted out alive. Gaines said he did not care what Plaintiff said to get out, but
that he had better "not put the police on" him. He showed Plaintiff a knife and kept referring to

how he had made it and what it could do.

49. On May 3 and 4, Plaintiff made repeated verbal and written requests to be moved, stating
that he was in imminent danger and that there was a high risk of violence due to Gaines's mental
health issues He did not sleep between the attack on the night of May 2 and May 4. Gaines
began yelling complaints to the officers such as “You’d better recognize there is a problem right

now, or you're going to need a blood [clean-up] crew up in here." The officers did not respond.

50. In the late afternoon of May 4, Gaines lunged at Plaintiff and attempted to attack
him. Plaintiff backed away and pushed the cell's emergency button to summon staff

assistance. However, several minutes passed without staff arriving.

51. The situation escalated further, with Gaines yelling at Plaintiff to get out right away or he
would kill him. Mr. Muller banged on the cell door and yelled into the hall repeatedly. He saw
that there were several officers standing and Watching about 15 feet away. Although they could

see that Mr. Muller was in distress, they did not approach the cell.

52. After another several minutes, officers approached the cell and told Mr. Muller to "stop

your bitch-fit" and stated that they would take him out.

53. Mr. Muller was next placed with another gay inmate who had a history of violent conduct
in prison and problems with cellmates On May 8, the inmate attacked Mr. Muller. Knowing

that he would be written up for fighting if he did more than defend himself, Plaintiff did not

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 29 of 41

punch back, but merely tried to protect himself. Plaintiff was punched at least ten times in the

head.

54. During the beating, Mr. Muller pushed the emergency button, but again no staff members
arrived. While on his regular rounds, an officer looked in the cell and saw that Plaintiff was

disheveled and bleeding from multiple lacerations to his face. He was removed from the cell.

55. Again, to avoid being labeled a "snitch" and creating an even more dangerous situation
for himself, Mr. Muller did not report that he had been attacked. He told Lieutenant Schied that
he had fallen off his bunk, though his facial wounds and bruising were obviously not consistent

with that story and it was likely understood what had really happened

56. Mr. Muller did not have conflicts with subsequent cellmates However, he continued to
be denied recreation and was able to go outside only once in 64 days In general, Plaintiff was
forced to contend with difficult conditions in the SHU, chief among them a nearly uninterrupted

lockdown in a small 7 x 10 foot cell with another prisoner.

57. Mr. Muller was frequently denied basic supplies such as toilet paper, a mattress and
meals compliant with his Buddhist vegetarian diet. The SHU was infested with bedbugs and/or
lice, ants and cockroaches Throughout his time in segregation, Plaintiff had a constellation of
bites and welts on his body, each raised and up to two inches in diameter, as well as rashes from
contracting ringworm in the SHU. The walls were contaminated with pepper spray residue that
caused Plaintiff skin inflammation, and one cell Mr. Muller occupied had what appeared to be

blood smeared on a portion of the wall.

58. Plaintif`fs cell was twice inundated with sewage. On one occasion the sewage was

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 30 of 41

allowed to stand in the hall outside his cell for over eight hours during the daytime, and Plaintiff
had to attempt to eat with the smell of feces and urine permeating the cell. Plaintiff's cell was

flooded with clean or "gray" water four additional times.

Prison Staj]”Systematically Block or Delay Mr. Muller's Efforts to Get Help

59. Mr. Muller's family hired an attorney to assist with the situation That attorney, the
undersigned, was initially told she was not allowed to visit Mr. Muller. Following a demand
letter, prison officials eventually allowed the visit. Mr. Muller's repeated requests to call the
undersigned and another attorney handling his criminal matter were usually ignored. A few calls

were later allowed, after weeks of requests

60. Properly marked legal mail sent to Mr. Muller arrived opened One of three privileged
and confidential letters Mr. Muller sent to undersigned counsel never arrived It was the only
one of the three containing sensitive and detailed information about staff misconduct in the
SHU. Mr. Muller was not allowed a single visit to the SHU law library in 64 days, and staff

withheld law-related books sent to Mr. Muller by his wife.

61. Mr. Muller repeatedly asked for forms on which he could file an administrative remedy
request, and for court forms None was provided Mr. Muller's family sent him copies of
remedy request forms they printed from the Internet. Plaintiff completed several forms and
attempted to submit them to Warden R. L. Rhodes and Associate Warden Jusino. Although he
explained that he was unable to obtain forms from SHU staff, Rhodes and Jusino refused to

accept the proffered forms because they were not the official versions printed on carbon paper.

62. Mr. Muller next attempted to send a confidential and urgent remedy request to the BOP

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 31 of 41

Regional Office. It included details about the rape and other misconduct by SHU staff. Mr.
Muller submitted the form via legal mail on June 3, 2018. Despite a request for expedited
processing and assistance, Mr. Muller has not heard from the Regional Office or any official
about this matter in nearly two months This failure to respond is consistent with Mr. Muller's
legal mail having been intercepted and discarded

Prison Staj_"fNearly Kill Mr. Muller Through T heir Deliberate Indi[ference to His Mental
Health Crisis

63. Mr. Muller's mental health deteriorated rapidly in the SHU. He continued to request

mental health treatment, as did his family and attorney in letters to the warden

64. In response to one letter, Ms. Johnson saw Plaintiff for ten minutes Mr. Muller disclosed
his symptoms and stated that he believed he was on the wrong medication Unlike at previous
meetings, Ms. Johnson listened somewhat sympathetically. But she did not provide any

treatment or make any attempts to ameliorate his situation

65. By mid-June, Plaintiff was suffering severe depression and was highly suicidal. He sent
messages to Ms. Johnson stating that his situation was dire and that he needed to be admitted to a
psychiatric hospital. Barring that, he asked at least to be released from the SHU, stating "I am

safe in general population and am not a threat to anyone but myself." The requests were ignored

66. Unable to get help, Plaintiff‘s health deteriorated further, and he made definite plans to
kill himself. His preparations included a series of letters to be given to his family and others

after he was dead, explaining why it was best that he dies

67. Plaintiff's cellmate Cody Jackson had observed Mr. Muller sink further into

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 32 of 41

depression He wrote messages to Ms. Johnson and Warden Rhodes-himself a trained

psychologist-stating that he feared for Mr. Muller's safety. No action was taken

68. Mr. Jackson became suspicious when Mr. Muller was evasive about the letters he was
writing. When Plaintiff was away fiom the cell, Mr. Jackson opened several sealed envelopes
and read the letters He ascertained Mr. Muller's plans and confionted him about them. He
seized various items fiom Mr. Muller and convinced him to wait a short time longer, as it was

likely they would both soon be released from the SHU,

69. Mr. Jackson was released from the SHU to general population first. Together with some
other inmates, he convinced Mr. Muller's regular psychologist Dr. Moreno to intervene. Dr.

Moreno met with Mr. Muller in the SHU on June 27, 2018 and obtained his release that day.

70. On information and belief, Ms. Johnson misrepresented in Plaintiff's medical records that
he was healthy in the SHU, well-adjusted to the restrictive conditions and receiving appropriate

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71. Shortly before his release fi‘om the SHU, Mr. Muller received an additional incident
report written by Defendant Lorri Mitchell. It included false charges that Mr. Muller was doing

legal work for pay contrary to prison rules

72. After his release from the SHU, Plaintiff learned that the inmate he had been trying to
help, Christopher Eads, was forced into a cell into a cell with a dangerous inmate. Mr. Eads
understood this to be in retaliation for fighting his case and for seeking help fiom Mr.
Muller. Mr. Eads was attacked and seriously injured, sustaining facial injuries that caused vision

problems and will require facial reconstructive surgery. Mr. Eads has since been transferred to a

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 33 of 41

lower security facility in Illinois.

Prison 0j]icials Refuse to AllowA Legal Visit by Forensic Psychologist George Goldman

73. On April 21, 2018, the undersigned's paralegal William Fuller contacted prison officials
to arrange a forensic examination of Mr. Muller. The exam, to be conducted by respected Tucson
psychologist Dr. George Goldman, would document Mr. Muller's poor state of mental health in
the SHU, lt would also support claims about his mental health made in his motion under 28
USC § 2255 and in another pending criminal matter. Both matters were time-sensitive, and

Plaintiff so informed the Defendants

74. lt was then--and it remains now_crucial that Dr. Goldman examine Mr. Muller as soon
as possible in order to assess and document the apparent causal link between Mr. Muller's
symptoms and restrictive conditions of confinement Neuropsychological evidence of this link

will dissipate as time passes

75. After receiving no response from prison officials, Mr. Fuller again contacted the prison
on June 26 to inquire about the status of the earlier request. Defendant Lorri Mitchell replied

that the prison would not allow Dr. Goldman to examine Mr. Muller without a court order.

76. On information and belief, Ms. Mitchell did not consult with the USP Tucson Warden or
with the BOP Westem Regional Counsel before pronouncing this decision, in violation of BOP

policy and procedures

77. Between June 28 and July 20, 2018, Plaintiff and the undersigned made repeated attempts
to negotiate a visit by Dr. Goldman and to ascertain and address any concerns Defendants had

about the visit. Defendants declined to give any reason for their refusal, only restating that they

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 34 of 41

would not allow the visit to proceed unless a court ordered otherwise.

78. Plaintiff and the undersigned sent Defendants a total of six letters via electronic mail and
hand delivery. The letters cited Bureau policy indicating Dr. Goldman's legal visit should be
allowed The letters asked whether any further assurance of Dr. Goldman's history, conduct or
qualifications was needed Defendants did not respond Plaintiff advised Defendants that he
would seek a temporary restraining order (TRO) directing that the visit be allowed, as well as
court costs and attorney’s fees he incurred in filing an action. Defendants offered no reply other
than to restate that Dr. Goldman's legal visit would not be allowed

Defendants Refuse to AllowAny Unaccompanied Visit by T he Undersigned's Paralegal,
ImposingAdditional Costs and Delays on Plaintiff

79. On July 20, Mr. Fuller sought to visit the prison in order to obtain Mr. Muller's signature
on final documents and to collect exhibits from Mr. Muller. Plaintiff wished to file this action
and a TRO request as soon as possible. Defendants refi.rsed to allow Mr. Fuller to visit without

the undersigned present, citing his "background and history."

80. On information and belief, Defendants did not consult with the BOP Westem Regional
Counsel prior to taking this action and did not act from any actual belief that Mr. Fuller posed an

unacceptable threat to institutional security.

8l. Mr. Fuller is a former Bureau of Prisons prisoner with a perfect record of good conduct
while incarcerated in BOP facilities He has maintained a perfect record of conduct in the five-
plus years since his release. He is now studying to become an attorney, with plans to specialize

in criminal and prisoner rights matters

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 35 of 41

82. Various circumstances made it clear that the multiple delays imposed by Defendants were

not in the nature of ordinary administrative friction or bureaucratic neglect.

83. For example, the undersigned's paralegal Mr. Fuller initially made several legal visits to
USP Tucson without incident. No security concerns were raised, nor was he asked to submit to
any background check. This changed when Defendant Mitchell became involved in approving

any legal visits to Plaintiff.

84. On about July 2, 2018, Defendant Mitchell subjected Mr. Fuller to an invasive
background examination Standard BOP forms request that legal visitors provide consent to any
such check. However, Ms. Mitchell performed the investigation without such authorization
Then, using the information she had obtained from official government databases, Ms. Mitchell
contacted Mr. Fuller's probation officer and requested that he be cited for violating the terms of
his probation On information and belief, Ms. Mitchell claimed Mr. Fuller was in technical
violation because he had e-mailed her from an address other than the one listed in his probation

records

85. Despite Mitchell's efforts, Mr. Fuller demonstrated how the additional address had
already been reported However, Ms. Mitchell's actions did succeed in adding time and trouble
to the undersigned's handling of this matter. In this, they are emblematic of Defendants' active

efforts to obstruct and delay Plaintiffs access to counsel and the courts

86. Legal visits at USP Tucson are visually monitored by prison staff at all times Legal

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 36 of 41

visitors are subject to a metal detector search and search of their personal effects upon entry and
exit. Visitors can also be searched with a sophisticated electronic device that detects the
presence of drugs Inmates are firlly strip-searched before and after legal visits and usually must
change into a jumpsuit and foam shoes to enter the visiting room. Any items they carry in or out

with them are subject to search.

87. Consistent with the importance of maintaining inmatesf access to counsel, BOP
regulations suggest that visitor screening for attorneys and their assistants is to be more
permissive than screening for social visitors Nonetheless, social visitors with more serious
and/or more recent criminal backgrounds than Mr. Fuller's have been approved by USP Tucson

staff for visiting privileges

88. In requiring the presence of the undersigned at all visits, Defendants failed to follow BOP
procedures for restricting legal visits, acted arbitrarily and capriciously, and imposed additional
costs for representation on Plaintiff`. They also delayed the filing of this action by approximately

one week.

CLAIMS FOR RELIEF

FIRST CAUSE OF ACTION:
VIOLATION OF PLAINTIFF'S FIRST AND SIXTH AMENDMENT RIGHTS

86. Plaintiff incorporates all preceding paragraphs as if fully set forth herein

87. Defendants' practices unjustifiany obstruct the availability of professional representation

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 37 of 41

and other legal services to Mr. Muller.

88. Plaintiff has suffered actual and ongoing injury as a result of Plaintiff`s refusal to allow

Dr. Goldman's and Mr. Fuller's legal visits

89. First, the delay in the forensic examination has reduced its usefulness and legal
persuasiveness It was crucial for Mr. Muller's mental health to be assessed when his symptoms
were at their worst. Dr. Goldman's examination was to include tests that measure present
symptoms such as cognitive slowing. Such "real-time" tests are more strongly corroborative of
actual psychiatric illness than a patient's self-report of past symptoms Due to his release from
the SHU, Plaintiff is now recovering from the worst of his symptoms and tests will likely reflect

less severe symptoms

90. Second, on July 18, 2018, a U.S. Magistrate Judge for the Eastern District of Calif`omia
recommended a partial denial of Plaintif`fs 28 U.S,C. § 2255 motion, which motion included
claims relating to Mr. Muller's mental health, Mr. Muller had planned on submitting Dr.
Goldman's expert report in support of his § 2255 claims If the examination had proceeded as
originally scheduled, Dr. Goldman could have submitted it in time to influence the decision on
Plaintif`fs motion It was expected that Dr. Goldman's report would corroborate Plaintiffs claims
that after a year in restrictive solitary confinement, he was too severely depressed to enter a

knowing, intelligent and voluntary guilty plea

91. Third, on about July 12, the senior deputy district attorney of Solano County, Calif`ornia,
refused the request of Mr. Muller's criminal attorney Richard Dudek for a three-month delay in

proceedings The delay was requested for mental health reasons, but Plaintiff was unable to

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 38 of 41

submit an expert report in support of his request, as he had previously informed Solano County
he would. Accordingly, Defendants' unlawful action likely played a role in Solano County's

refusal

92. Fourth, Plaintiff has incurred additional legal expenses due to the requirement that the
undersigned attend every legal visit. The filing of this action was also delayed by at least one

week.

SECOND CAUSE OF ACTION:
VIOLATION OF THE ADMINISTRATIVE PROCEDURES ACT

93. Plaintiff incorporates all preceding paragraphs as if fully set forth herein

94. Defendants' actions violated the U.S. Constitution as set forth above, and therefore

amount to agency action that violates the Administrative Procedures Act.

95. Defendants also acted contrary to federal regulations and agency policy in refusing Dr.
Goldman's and Mr. Fuller's legal visits Defendants' actions were arbitrary and capricious, failed
to follow mandatory agency procedures and constitute abuses of discretion, in violation of the

Administrative Procedures Act.

96. Plaintiff has suffered actual and ongoing injury as a result of Defendants' violations of the

Administrative Procedure Act, as set forth above,

RELIEF REQUESTED

WHEREFORE Plaintiff requests that the Court grant the following relief:

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 39 of 41

A. lssue a declaratory judgment stating that:

1. By refusing to allow a legal visit by a forensic expert acting through Plaintiffs civil and
criminal attorneys Defendants unjustifiably obstructed the availability of professional legal

services to Plaintiff, in violation of the First and Sixth Amendments of the U.S. Constitution

2. The visit by Plaintiffs expert was to be allowed under BOP regulations and by refusing it
Defendants acted arbitrarily and capriciously, abused their discretion and failed to follow

mandatory agency procedures in violation of the Administrative Procedures Act.

3. By refusing under pretext of security concerns to allow a legal visit by a paralegal
supervised by Plaintiffs attorney, Defendants unjustifiany obstructed the availability of
professional legal services to Plaintiff, in violation of the First and Sixth Amendments of the U.S.

Constitution

4. The visit by the undersigned's paralegal was to be allowed under BOP regulations and by
refusing it Defendants acted arbitrarily and capriciously, abused their discretion and failed to

follow required agency procedures in violation of the Administrative Procedures Act.

B. lssue an injunction ordering Defendants Baltazar, Jusino and Mitchell to:

l. Allow unaccompanied legal visit during standard business hours by Dr. George Goldman,
with the first appointment to be available as soon as feasible and not later than four days from the

date of this order.

2. Allow unaccompanied legal visits during standard business hours by paralegal William

Fuller, provided that Mr. Fuller remains under the supervision of attorney Stacy Scheff, although

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 40 of 41
Ms. Scheff need not be present at any visit.
C. Grant such other relief to which it may appear Plaintiff is entitled

Respectfully submitted,

Dated: August 2, 2018

STACY SCHEFF
Attorney for Plaintiff
Matthew Muller

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Case 2:15-cr-OO205-TLN-EFB Document 66 Filed 08/03/18 Page 41 of 41

VERIFICATION

l, Matthew Muller, swear under penalty of perjury that the foregoing information is true and

correct.

Matthew Muller

Done this day of July in Tucson, Arizona.

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